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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. MJ 12-330
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   AARON ADAMS,                         )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Defraud the Government

15 Date of Detention Hearing:     July 6, 2012.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably

19 assure the appearance of defendant as required and the safety of other persons and the

20 community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant made his first appearance in response to a summons issued in this



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01 case. He was released from the custody of the Washington State Department of Corrections on

02 July 4, 2012 after serving a four month sentence due to non-compliance with the conditions of

03 community supervision. An active warrant has been issued by the DOC following defendant’s

04 failure to report following his release. For the time being, the issue of release is moot, since

05 defendant would be transferred to DOC custody if not detained by this Court.

06            2.      Defendant will be detained pending a full detention hearing before this Court.

07 It is therefore ORDERED:

08         1. Defendant shall be detained pending trial and committed to the custody of the Attorney

09            General for confinement in a correction facility separate, to the extent practicable, from

10            persons awaiting or serving sentences or being held in custody pending appeal;

11         2. Defendant shall be afforded reasonable opportunity for private consultation with

12            counsel;

13         3. On order of the United States or on request of an attorney for the Government, the

14            person in charge of the corrections facility in which defendant is confined shall deliver

15            the defendant to a United States Marshal for the purpose of an appearance in connection

16            with a court proceeding; and

17         4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

18            for the defendant, to the United States Marshal, and to the United State Pretrial Services

19            Officer.

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01       DATED this 6th day of July, 2012.

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03                                                 A
                                                   Mary Alice Theiler
04                                                 United States Magistrate Judge

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